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Attorneys for Defendants

                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              HELENA DIVISION

KATHERINE DILLON,                         )          17-CV-00099-CCL
                                          )
             Plaintiff,                   )
                                          )
             -vs-                         )
                                          )       STIPULATED NOTICE OF
PROGRESSIVE CORPORATION,                  )            SETTLEMENT
PROGRESSIVE CASUALTY                      )
INSURANCE COMPANY, and                    )
ARTISAN AND TRUCKERS                      )
CASUALTY COMPANY                          )
                                          )
             Defendants.                  )

       Defendants The Progressive Corporation, Progressive Casualty Insurance

Company, and Artisan and Truckers Casualty Company, and Plaintiff Katherine Dillon,
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by and through their respective counsel of record, respectfully submit this stipulated

notice to the Court that the parties in this action have reached a settlement of all claims

asserted in this matter. The parties request that all upcoming case deadlines be stayed

while they finalize their settlement and file a stipulation of dismissal.


       DATED this 23rd day of August, 2019.


                                                   /s/ Justin T. Winquist
                                    Justin T. Winquist (admitted pro hac vice)
                                    Casie D. Collignon (admitted pro hac vice)
                                    Baker & Hostetler LLP

                                               /s/ Tammy Wyatt-Shaw
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